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     July 10, 2023                                                                                      File No. 37986.8259



     VIA ECF

     The Honorable Lorna G. Schofield
     United States District Judge
     United States District Court
     Southern District of New York
     500 Pearl Street
     New York, NY 10007


              Re:     Vuppala v. Felix Roasting Co., et al.
                      Docket No. 23-cv-0154 (LGS)

     Dear Judge Schofield:

            We represent Defendant Lafayette-Astor Associates, LLC (“Defendant Lafayette-Astor”) in
     the above-referenced matter. We write today, jointly with counsel for Plaintiff and Defendant Felix
     Roasting Co. (“Defendant Felix”), to provide a status update, pursuant to the Court’s April 26, 2023
     Order. The parties apologize for this late filing.

             The parties have been diligently working to explore resolution of this matter and believe that
     they may be close to reaching an agreement. In light of the parties’ ongoing efforts to resolve the
     matter, the parties have agreed to extend all interim fact discovery deadlines to September 4, 2023 as
     permitted by the Court’s Civil Case Management Plan and Scheduling Order. Doc. No. 22. In the
     event that the parties are not able to resolve the case, the parties will complete fact discovery by
     September 4, 2023.

             In compliance with Rule III(D)(3) of the Court’s Individual Rules and Procedures for Civil
     Cases, the parties provide a brief summary of the relevant procedural history as follows. On January
     7, 2023, Plaintiff filed the Complaint. Doc. No. 1. On April 17, 2023, Defendant Felix appeared
     through its counsel. On April 26, 2023, the Court referred this matter to mediation and issued the
     Civil Case Management Plan and Scheduling Order. Doc. No. 20 and 22. On May 23, 2023,
     Defendant Lafayette-Astor appeared through its counsel. Doc. Nos. 25 and 26. On May 24, Defendant
     Felix filed its Answer. Doc. 30. On June 12, 2023, a mediator was assigned. On June 23, 2023,
     Defendant Lafayette-Astor filed its Answer. Doc. No. 32. On June 26, the parties had a pre-mediation


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conference with the court-assigned mediator and will complete mediation by October 19 in the event
that the parties are unable to resolve the matter themselves before then.

         We thank the Court for its time and attention to this matter.

                                                     Respectfully,

                                                     /s/ Adam E. Collyer

                                                     Adam E. Collyer of
                                                     LEWIS BRISBOIS BISGAARD &
                                                     SMITH LLP


cc:      All Counsel of Record




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